Case 9:03-cv-80295-DMM Document 12 Entered on FLSD Docket 04/15/2003 Page 1 of 1

UNITED STATES DISTRICT COURT f ae
Southern District of Florida

Case Number:

EMARKETERSAMERICA.ORG, INC.,

(| x
0383-80295
A Florida Non Profit Corporation,

 

Plaintiff, CI -MIDDLEBROOKS
vs. MAGISTPATE Jupee
JOHNSON
THE SPAMHAUS PROJECT d/b/a =
SPAMHAUS.ORG, et. al., os Bo
ure = -
Defendants. co: —_
/ SUF
SUMMONS IN A CIVIL CASE ae \
TO: THE SPAMHAUS PROJECT d/b/a TAL Coo
SPAMHAUS.ORG
STEVEN LINFORD, OWNER
The Phoenix
al es Taggs Island
/ / Hampton Court

United Kingdom TW122HA

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY,

FELSTEIN & ASSOCIATES, P.A.
Attorneys for EMarketersAmerica.org, Inc.
555 South Federal Highway, Suite 450
Boca Raton, Florida 33432
(561) 367-7990 Phone
(561) 367-7980 Facsimile

an answer to the complaint which is herewith served upon you, within twenty (20) days after

service of this summons upon you, exclusive of the day of service. If you fail to do so, judgment

by default will be taken against you for the relief demanded in the complaint. You must also file

your answer with the Clerk of this Court within a reasonable period of time after service.
Clarence Maddox

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DATE
(BY) DEPUTY CLERK

APR 1 4 2003
